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iN THI~: UNITED sTATEs DISTRICT COURT 05 _ _
FOR THE wEsTERN DIsTRJcT oF TENNESSEE AUG 8 PH 3“ [*9

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)
BARRY FIALA, INC., *’ fPHIS
Plaintifi`,
"~ Civil Acnon No.: 02 2282 Ma

ARTHUR BLANK & COMPANY, INC.,

Defendant, Counter-Plaintiff and
Third-Party Plaintiff,

V.

MOORE WALLACE NORTH
AMERICA, INC., D'k/'a MOORE NORTH AMERICA, INC.

Third-Party Defendant.

 

STIPULATED ()RDER OF DISMISSAL WITH PREJUDICE

 

PlaintiffBarry Fiala, lnc. ("Fiala") and Defendant Arthur Blank & Company, Inc. ("Blank")
have settled and compromised the dispute existing between them and existing between Arthur
Blank & Company, inc. and Third-Party Defendant Moore Wallace North America, Inc. and the
parties to this action wish to dismiss this action in its entirety with each party to bear its own costs,
expenses and attorney fees.

WHEREFORE, IT IS HEREBY ORDERED that the above-captioned action is
dismissed With prejudice with each party to bear its own costs, expenses and attorney fees.

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IT IS SO ORDERED, this 8

  
  

 

TED STATES DISTRICT COURT JUDGE

 

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BY STIPULATION, SIGNED IN COUNTERPARTS BY AGREEMENT, AND WITH ALL
RIGHTS OF APPEAL W IVED:)

 
 
 

 

 

 

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This notice confirms a copy of the document docketed as number 178 in
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